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GAS 245B               (Rev. 11/16) Judgment in a Criminal Case
DC Custody TSR




                                               United States District Court
                                                           SOUTHERN DISTRICT OF GEORGIA
                                                                    SAVANNAH DIVISION

                     UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                        V.

                                Khalil Sloman
                                                                                           Case Number;               4:I6CR00260-6

                                                                                           USM Number:                70222-019


                                                                                           Bruce Steven Harvey and James Scott Byrne
                                                                                           Defendant's Attorney
THE DEFENDANT:

Kl pleaded guilty to Count                     5s

D pleaded nolo contendere to Count(s)                               which was accepted by the court,

□ was found guilty on Count(s)                               after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                        Nature of Offense                                                                    Offense Ended       Count


21 U.S.C. § 843(b),                    Use of a communication facility to facilitate a drug transaction                     April 11,2016         5s
21 U.S.C. § 846, and
18 U.S.C. §2

            The defendant is sentenced as provided in pages 2 through                      of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on Count(s)
S Counts                      Is, 2s, and 4s            are dismissed as to this defendant on the motion of the United States.

         It is ordered that the defendant must notify the United Stales attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid, If ordered to
pay restitution, the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                                   April _24, 2017
                                                                                   Date of Imposition of Judgment




                                                                                   Signature of Judge




                                                                                   William T. Moore, Jr.
                                                                                   Judge, U.S. District Court
                 V
            CO
                                                                                   Name and Title of Judge
   r\ ■ »




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